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                                      5
                                          Los Angeles, CA 90067
                                      6   Telephone: (310) 556-9663
                                      7
                                          Attorneys for Plaintiffs and Counterclaim
                                      8   Defendants HIDDEN EMPIRE HOLDINGS,
                                      9   LLC, HYPER ENGINE, LLC, and DEON
                                          TAYLOR; and Third-Party Defendant
                                     10   ROXANNE TAYLOR
                                     11
                                     12
1801 Century Park East, 24th Floor




                                     13                     UNITED STATES DISTRICT COURT
    NEWELL LAW GROUP

     Los Angeles, CA 90067
         (310) 556-9663




                                     14              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     15
                                     16   HIDDEN EMPIRE HOLDINGS,               Case No. 2:22-cv-06515-MWF-AGR
                                          LLC; a Delaware limited liability
                                     17   company; HYPER ENGINE, LLC; a
                                          California limited liability company; The Hon. Michael W. Fitzgerald
                                     18   DEON TAYLOR, an individual,
                                     19                Plaintiffs,              JOINT STIPULATION TO CONTINUE
                                          vs.                                   PRETRIAL AND TRIAL DATES
                                     20
                                     21   DARRICK ANGELONE, an
                                          individual; AONE CREATIVE LLC,
                                     22   formerly known as AONEE
                                          ENTERTAINMENT LLC, a Florida
                                     23   limited liability company; and ON
                                          CHAIN INNOVATIONS LLC, a
                                     24   Florida limited liability company,
                                     25              Defendants.
                                     26
                                          DARRICK ANGELONE, an
                                     27
                                          individual; AONE CREATIVE LLC,
                                     28   formerly known as AONE
                                          ENTERTAINMENT LLC, a Florida
                                                                                -1-
                                                                        JOINT STIPULATION
                              Case 2:22-cv-06515-MWF-AGR             Document 182      Filed 05/05/25   Page 2 of 5 Page ID
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                                      1   limited liability company; ON
                                      2   CHAIN INNOVATIONS LLC, a
                                          Florida limited liability company
                                      3
                                      4                   Counterclaimants,
                                      5
                                      6   HIDDEN EMPIRE HOLDINGS,
                                      7
                                          LLC; a Delaware limited liability
                                          company; HYPERENGINE, LLC; a
                                      8   California limited liability company,
                                      9   DEON TAYLOR, an individual,
                                     10                   Counterclaim
                                     11                   Defendants,
                                     12
                                          DARRICK ANGELONE, an
1801 Century Park East, 24th Floor




                                     13   individual; AONE CREATIVE LLC,
    NEWELL LAW GROUP

     Los Angeles, CA 90067




                                          formerly known as AONE
         (310) 556-9663




                                     14
                                          ENTERTAINMENT LLC, a Florida
                                     15   limited liability company; ON
                                     16   CHAIN INNOVATIONS LLC, a
                                          Florida limited liability company,
                                     17
                                     18                  Third-Party Plaintiffs
                                     19
                                                  v.
                                     20
                                     21   ROXANNE TAYLOR, an
                                          individual, Third-Party Defendant
                                     22
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                                                                           JOINT STIPULATION
                              Case 2:22-cv-06515-MWF-AGR                Document 182     Filed 05/05/25     Page 3 of 5 Page ID
                                                                             #:5891


                                      1          Plaintiffs and Counterclaim Defendants Hidden Empire Holdings, LLC,
                                      2   Hyper Engine, LLC and Deon Taylor (“Plaintiffs”) and Third-Party Defendant
                                      3   Roxanne Taylor and Defendants and Counterclaimants Darrick Angelone, AOne
                                      4   Creative, LLC and On Chain Innovations, LLC (“Defendants”) (collectively, the
                                      5   “Parties”), by and through their respective attorneys of record, stipulate as
                                      6   follows:
                                      7          WHEREAS counsel for Defendants are currently engaged in trial and have
                                      8   been in trial for several weeks;
                                      9          WHEREAS the parties have had to postpone critical depositions pending
                                     10   trial; and
                                     11          WHEREAS the Parties have met and conferred and agreed to a proposed
                                     12   revised case schedule.
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                                     13          THEREFORE, the Parties hereby agree and stipulate as follows:
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         (310) 556-9663




                                     14          The remaining pre-trial and trial deadlines in this matter shall be continued
                                     15   as followed:
                                     16                                  Old Deadline        New Deadline
                                     17           Non-Expert             July 1, 2025        August 1, 2025
                                     18           Discovery Cut-off
                                                  Expert Discovery       June 19, 2025       July 18, 2025
                                     19
                                                  Cut-off
                                     20           Last Day to Hear       June 2, 2025        July 7, 2025
                                     21
                                                  Motions
                                                  File Memorandum        July 7, 2025        August 7, 2025
                                     22           of Contentions of
                                     23           Fact and Law,
                                                  Exhibit and
                                     24
                                                  Witness Lists,
                                     25           Status Report
                                                  regarding
                                     26
                                                  settlement, and all
                                     27           Motions in Limine
                                     28           Lodge Pretrial         July 14, 2025       August 14, 2025
                                                  Conference Order,
                                                                                     -3-
                                                                             JOINT STIPULATION
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                                                                       #:5892


                                      1         file agreed set of
                                      2         Jury Instructions
                                                and Verdict forms,
                                      3         file statement
                                      4         regarding Disputed
                                                Instructions and
                                      5
                                                Verdict Forms, and
                                      6         file oppositions
                                      7         Final Pretrial      July 28, 2025      August 25, 2025
                                                Conference and                         at 11:00 a.m.
                                      8         Hearing on Motion
                                      9         in Limine
                                                Trial Date (Est. 10 August 12, 2025    September 9,
                                     10                                                2025. at 8:30
                                                Days)                                  a.m.
                                     11
                                     12
1801 Century Park East, 24th Floor




                                     13
    NEWELL LAW GROUP




                                          IT IS SO STIPULATED.
     Los Angeles, CA 90067
         (310) 556-9663




                                     14   Dated: May 5, 2025                     NEWELL LAW GROUP PC
                                     15
                                     16                                     By: /s/ Felton Newell
                                                                              FELTON T. NEWELL
                                     17
                                                                              CHRISTINE SAID
                                     18                                       Attorneys for Plaintiffs and Counter-
                                     19                                       Claim Defendants HIDDEN EMPIRE
                                                                              HOLDINGS, LLC; HYPER ENGINE,
                                     20                                       LLC and DEON TAYLOR; and Third-
                                     21                                       Party Defendant ROXANNE TAYLOR
                                     22
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                                                                       JOINT STIPULATION
                              Case 2:22-cv-06515-MWF-AGR       Document 182    Filed 05/05/25   Page 5 of 5 Page ID
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                                      1   Dated: May 5, 2025      KRAMER, DEBOER & KEANE
                                      2
                                      3                                 By:/s/ Sandra Calin_____________
                                                                          SANDRA CALIN
                                      4                                   Attorneys for Defendants DARRICK
                                      5                                   ANGELONE, AONE CREATIVE,
                                                                          LLC and ON CHAIN INNOVATIONS,
                                      6
                                                                          LLC
                                      7
                                      8   Dated: May 5, 2025      LAW OFFICES OF JT FOX, APC
                                      9
                                     10                                 By:_/s/ J.T. Fox________________
                                                                          J.T. FOX
                                     11                                   JUSTIN KIAN
                                     12                                   Attorneys for Defendants DARRICK
1801 Century Park East, 24th Floor




                                                                          ANGELONE, AONE CREATIVE,
                                     13
    NEWELL LAW GROUP

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                                                                          LLC and ON CHAIN INNOVATIONS,
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                                     14                                   LLC
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                                                                   JOINT STIPULATION
